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                  Exhibit D
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                                                                               ELLIPTIC
INVOICE
                                                                             Invoice Date              Elliptic Inc
                                                                             Feb 28, 2022              1732 1st Ave #23346
                                                                             Invoice Number            New York, NY 10128
      Robert A. Musiala Jr., as Receiver of Montgomery Technologies LLC in   INV-A1062                 finance@elliptic.co
      Receivership                                                                                     (917)310-1653
                                                                             EIN
      45 Rockefeller Plz
                                                                             xxx-xx-6159
      NEW YORK NY 10111




Description                                                      Quantity          Unit Price         Tax      Amount USD


                                                                     •               1111-
                                                                                                     -
                                                                                                   - -
                                                                                                  Subtotal

                                                                             TOTAL NEW YORK SALES TAX


                                                                                                TOTAL USD
                                                                                                                   -

                                                                                                                       1111



Due Date: Feb 28, 2022
Bank: Silicon Valley Bank
3003 Tasman Drive, Santa Clara, CA 95054, USA

ROUTING & TRANSIT #: 121140399
ACCOUNT #: 3301526835
SWIFT CODE: SVBKUS6S



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